                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:04 CR 274

                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
               vs.                               )
                                                 )                  ORDER
VINH PHU HUYNH                        (3)        )
PHUONG THE TRUONG                     (10)       )
STEPHEN ROY OXENDINE                  (15)       )
LOC BA VU                             (16)       )
SINAL PUTH                            (18)       )
                                                 )


       THIS MATTER is before the court on its own motion to continue the trial of this matter
from the January 8, 2007 term of court.

       The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

       IT IS THEREFORE ORDERED that this trial be scheduled for the January 9, 2007
term at 10:00 a.m. in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.

                                                     Signed: December 19, 2006




      Case 3:04-cr-00274-GCM           Document 333        Filed 12/19/06      Page 1 of 2
C   a   s   e   3   :   0   4   -   c   r   -   0   0   2   7
